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|N THE UN|TED STATES DESTR|CT COURT

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FOR Tl-lE WESTERN D|STR|CT OF TENNESSEE 05 ?_":3 an ll
WESTERN D|VIS|ON
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i_f_¥l' ..i“ t'.\ k.’ -

UN|TED STATES OF AMER|CA
P|aintiff

VS.

we off r`i\i .J'{L.i;r#i¥'ls

CR. NO. 04-204'| 3-D

W|LL|A|V| VVOODS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY

AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel forthe

defendant requested a continuance of the Nlay 2, 2005 trial date in order to allow for

additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a report

date of Thursdav. Mav 19, 2005, at 9:00 a.m., in Courtroom 3, 9th F|oor of the Federa|

Bui|ding, |\/lemphis1 TN.

The period from |Vlay 13, 2005 through June 17, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy tria|.

lTis so oRDEREDthis 35 day oprril, 2005

QYZMQ§:WW/</

B$ RN|CEB. DONALD

UN|TED STATES D|STR|CT JUDGE

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This notice confirms a copy of the document docketed as number 28 in
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M. lake Werner

LAW OFFICE OF M. JAKE WERNER
314 Poplar Ave.

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

